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                                             8.    VIOLATION OF NORTH
     1                                             CAROLINA UNFAIR AND
                                                   DECEPTIVE TRADE
     2                                             PRACTICES ACT; and
                                             9.    VIOLATION OF WASHINGTON
     3                                             CONSUMER PROTECTION ACT
     4                                            DEMAND FOR JURY TRIAL
     5

     6

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     1
              Plaintiffs George Williams, Lorenda Overman, Gerald Chiariello II, Charles

     2 Pencinger and Steve Oetegenn, on behalf of themselves and all others similarly

     3
         situated, by their undersigned attorneys, allege as follows:
     4

     5        1. This is a class action brought by Plaintiffs, on behalf of themselves and

     6 other similarly situated persons, against Yamaha Motor Co., Ltd. (“YMC”) and

     7
         Yamaha Motor Corporation, U.S.A. ("YMUS") (collectively "Defendants" or
     8

     9 “Yamaha”). Plaintiffs seek damages and equitable remedies for themselves and

    10 the Class (defined in ¶95, below).

    11
              2. As described below, an inherent design and/or manufacturing defect in
    12

    13 Defendants’ Yamaha four stroke outboard motors – specifically, first-generation

    14 four stroke F-Series outboards (“First Generation Four Stroke Outboards”) -

    15
         caused an almost immediate onset of corrosion to internal component parts, which
    16

    17 gradually worsened. The corrosion buildup forced owners such as Plaintiffs, to

    18 avoid eventual engine problems and failure, to undergo significant repair or

    19
         replacement of the internal corroded parts typically after 500 to 700 hours of use,
    20

    21 even if the engines were properly serviced and maintained. As a result, the First

    22 Generation Four Stroke Outboards were rendered unfit for their intended use and

    23
         purpose.
    24

    25        3. Because of the inherent defect in design and/or manufacture of Yamaha’s
    26 First Generation Four Stroke Outboards, corrosion buildup would begin right

    27
         away, although due to the concealed placement of the internal component parts
    28

                                                   1
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     1
         experiencing corrosion, Plaintiffs and other similarly situated owners could not

     2 have seen or performed a visual inspection that would have revealed the defect

     3
         prior to the advancement of the corrosion to the stage where performance related
     4

     5 symptoms surfaced.

     6        4. Further, based on inherent defects in the design and/or manufacture of the
     7
         First Generation Four Stroke Outboards, Defendants knew or should have known
     8

     9 that their warranties, issued by Defendant YMUS, were being breached by the

    10 nearly immediate onset and buildup of corrosion on internal component parts.

    11
         Defendants knew or should have known that in order to keep the outboards in use
    12

    13 after the warranty period, Plaintiffs and the Class would be forced to replace the

    14 internal corroded parts and thereby incur not just the cost of the replacement parts,

    15
         but also significant labor costs. Defendants concealed these facts from Class
    16

    17 members, including Plaintiffs. Further, Defendants also failed to warn consumers

    18 such as Plaintiffs of the potential danger and safety risk of a sudden and

    19
         catastrophic engine failure brought on by the buildup of corrosion in the defective
    20

    21 engines.

    22        5. Defendants’ failure to disclose this defect about which it knew or should
    23
         have known constitutes both an actionable misrepresentation and an unfair,
    24

    25 unlawful, fraudulent, and deceptive business practice.

    26        6. Plaintiffs and other Class members have been damaged by Defendants’
    27
         concealment and non-disclosure of the defective condition of the First Generation
    28

                                                 2
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     1
         Four Stroke Outboards, because they were misled into purchasing outboard motors

     2 of a quality and value different than they were promised, and/or have been forced

     3
         into paying repair and replacement costs that they would not have otherwise paid.
     4

     5        7. Despite timely demand, to date Defendants and their agents have been

     6 unable or unwilling to fully repair and/or offer replacement parts or replacement of

     7
         the defective outboard motors.
     8

     9        8. As a result of Defendants’ practices, Plaintiffs and the other Class

    10 members have suffered injury in fact, including economic damages.

    11
              9. Plaintiffs therefore bring this action on behalf of themselves and a
    12

    13 proposed Class of similarly situated purchasers of Yamaha’s First Generation Four

    14 Stroke Outboards.

    15
                                  JURISDICTION AND VENUE
    16

    17        10. Plaintiffs invoke the jurisdiction of this Court pursuant to 28 U.S.C.
    18 §1332 because the proposed Class consists of 100 or more members and the

    19
         aggregated claims of the individual Class members exceed the sum or value of
    20

    21 $5,000,000, exclusive of costs and interest.         Additionally, at least one Class
    22 member is a citizen of a State different than Defendants.

    23
              11. Venue is proper in this District pursuant to 28 U.S.C. §1391 inasmuch as
    24

    25 the unlawful practices are alleged to have been committed in this District,

    26 Defendant Yamaha Motor Corporation, U.S.A. has its principal place of business

    27
         in this District, and Defendants regularly conduct business in this District.
    28

                                                   3
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     1
                                             PARTIES

     2        12. During all times relevant to this suit, Plaintiff, George Williams, has been
     3
         a resident of the State of Washington, and currently resides in Seattle, Washington.
     4

     5        13. During all times relevant to this suit, Plaintiff Lorenda Overman has been

     6 a resident of the State of North Carolina, and currently resides in Goldsboro, North

     7
         Carolina.
     8

     9        14. During all times relevant to this suit, Plaintiff Gerald Chiariello II has

    10 been a resident of the State of New York, and currently resides in Glen Cove, New

    11
         York.
    12

    13        15. During all times relevant to this suit, Plaintiff Charles Pencinger has been

    14 a resident of the Commonwealth of Massachusetts, and currently resides in

    15
         Rowley, Massachusetts.
    16

    17        16. During all times relevant to this suit, Plaintiff Steve Oetegenn has been a

    18 resident of the State of California, and currently resides in San Marcos, California.

    19
              17. Defendant Yamaha Motor Co., Ltd. (“YMC”) is a Japanese corporation
    20

    21 whose principal place of business is in Shizuoka, Japan and which has at all times

    22 material hereto transacted substantial business within the United States and within

    23
         the State of California.
    24

    25        18. Defendant Yamaha Motor Corporation, U.S.A. (“YMUS”) operates as a
    26 wholly-owned subsidiary of Defendant YMC for the importing and marketing of

    27
         Yamaha Motor products. YMUS is a corporation organized and existing under the
    28

                                                  4
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     1
         laws of the State of California and has its principal place of business at 6555

     2 Katella Avenue, Cypress, California 90630.

     3
              19. Defendants, and each of them, were the agents or employees of each
     4

     5 other and were acting at all times within the course and scope of such agency and

     6 employment and contributed to and caused the breaches and other liabilities as

     7
         alleged herein, and are legally responsible because of their relationship with their
     8

     9 co-Defendants for the relief and recovery sought by Plaintiffs and the members of

    10 the Class.

    11
              20. Defendants, and each of them, were the manufacturers, designers,
    12

    13 developers, processors, producers, assemblers, builders, testers, inspectors,

    14 wholesalers, retailers, sellers and distributors of the First Generation Four Stroke

    15
         Outboards.
    16

    17                 TOLLING OF THE STATUTE OF LIMITATIONS
    18        21. Plaintiffs and the members of the Class could not have discovered
    19
         through the exercise of reasonable diligence that their First Generation Four Stroke
    20

    21 Outboards were defective within the time period of any applicable statute of

    22 limitations. Among other things, due to the concealed placement of the internal

    23
         parts experiencing corrosion, Plaintiffs did not and could not have performed a
    24

    25 visual inspection that would have revealed the defect, nor is it reasonable to

    26 presume that any member of the Class could have performed such a visual

    27
         inspection.
    28

                                                  5
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     1
              22. Any applicable statute of limitations that might otherwise apply to bar

     2 any of Plaintiffs’ claims or the class of the other Class members is tolled by

     3
         Defendants’ concealment of its defective design and/or manufacture of the First
     4

     5 Generation Four Stroke Outboards.          As a result of Defendants’ concealment,

     6 neither Plaintiffs nor the other Class members could have discovered the defects

     7
         through the exercise of reasonable diligence, until the earlier of the time the repairs
     8

     9 and/or replacement of component parts became necessary or when the engines

    10 suffered failure due to the corrosion of internal component parts.

    11

    12
                                         COMMON FACTS

    13
              23. At all relevant times herein, Defendants have developed, manufactured,

    14 marketed, sold and distributed outboard motors under the Yamaha brand name

    15
         throughout the United States through YMUS’s central offices in Cypress,
    16

    17
         California.

    18        24. Beginning as early as with models introduced on or around the year
    19
         2000, Defendants have marketed, sold and distributed First Generation Four Stroke
    20

    21 Outboards to purchasers in the United States through the central offices of YMUS

    22 located in California.

    23
              25. On information and belief, Defendants phased out the First Generation
    24

    25 Four Stroke Outboards with the introduction of next generation models

    26 manufactured in or around 2005.

    27

    28

                                                   6
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     1
              26. All First Generation Four Stroke Outboards were sold with a three-year

     2 warranty from Defendant YMUS with identical or nearly identical operative

     3
         language.   The three-year warranties issued by YMUS guaranteed that the
     4

     5 outboard motors would be “free from defects in material and workmanship” for the

     6 duration of the warranty, and covered the costs of parts and labor for major

     7
         components for the full term of the warranty. The YMUS warranty contained
     8

     9 general exclusions for types of damage which do not apply to the damage suffered

    10 by Plaintiffs and the members of the Class.

    11
              27. The First Generation Four Stroke Outboards have latent defects that are
    12

    13 inherent within the motors themselves and/or the result of design or manufacturing

    14 flaws which result in an almost immediate onset of corrosion to internal dry

    15
         exhaust component parts during the warranty period, which gradually worsened.
    16

    17        28. The component parts affected by the defect are found on the “dry” side of

    18 the exhaust cavities of the outboard engines, which is not exposed directly to

    19
         water. This area, the “dry” side, is separate from where water passages exist by
    20

    21 design to allow water through to reduce heat and keep the engine cool.

    22        29. Proper maintenance, servicing and storage during the warranty period,
    23
         however, would not detect the internal dry side exhaust corrosion problem. On
    24

    25 information and belief, authorized Yamaha dealers and/or repair technicians

    26 performing servicing of the First Generation Four Stroke Outboards in accordance

    27
         with Yamaha service manual guidelines, were not told to inspect for corrosion in
    28

                                                 7
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     1
         internal dry exhaust components during annual maintenance checks, as might

     2 allow for the corrosion problems to be identified while the outboards were still

     3
         covered under the stated terms of the written warranty.
     4

     5        30. Thus, the hidden buildup of corrosion would not be discovered, even by

     6 trained mechanics performing annual service checks, until the engines actually

     7
         began to evidence symptoms such as leaking oil, giving the mechanic a reason to
     8

     9 open up the engine, and thereby exposing the corrosion damage.

    10        31. As a number of affected owners have reported, an external examination
    11
         and even scoping of the exhaust tubes cannot detect the internal corrosion, severe
    12

    13 as it is. Absent disassembly of the engine and removal of the power heads, the

    14 internal corrosion to the exhaust components cannot be visually detected.

    15
              32. Instead, after only approximately 500 to 700 hours of use, the outward
    16

    17 signs and tell-tale symptoms became so manifest that the corrosion issue with

    18 hidden internal parts was flagged, necessitating the repair and/or replacement of

    19
         component parts. Since most recreational boat owners use their outboard motors
    20

    21 less than 100 hours per year, the signs of engine failure did not show until after the

    22 term of the three year written warranty.

    23
              33. YMUS’ limits on its express warranty are unenforceable and the
    24

    25 warranty unconscionable because Defendants, acting in unison and as agents of

    26 one another, knowingly sold and distributed a defective product without

    27

    28

                                                  8
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     1
         conspicuously informing consumers about the defect. Plaintiffs and the members

     2 of the Class did not receive the goods expressly warranted by YMUS.

     3
              34. The time limits contained in YMUS’ written warranties are also
     4

     5 unconscionable and grossly inadequate to protect Plaintiffs and the members of the

     6 Class.     Among other things, Plaintiffs and the members of the Class had no
     7
         meaningful choice in determining those time limitations.        Further, the time
     8

     9 limitations of the warranties unreasonably favored YMUS over Plaintiffs and the

    10 members of the Class, given the fact that while corrosion began to develop almost

    11
         immediately after purchase and gradually worsened, the problems only became
    12

    13 manifest and noticeable after 500 to 700 hours of use, and most recreational boat

    14 owners use their outboard motors less than 100 hours per year. Finally, the time

    15
         limitations are unconscionable because Defendants knew or should have known
    16

    17 that the First Generation Four Stroke Outboards were defective at the time of sale,

    18 but would fail well before their useful lives, thereby rendering the time limitations

    19
         insufficient, inadequate and unconscionable.
    20

    21        35. By marketing, selling and distributing First Generation Four Stroke
    22 Outboards to purchasers in the United States, Defendants made actionable

    23
         statements that the outboards were free of defects in their design and/or
    24

    25 manufacture, and that they were safe and fit for their ordinary intended use and

    26 purpose.    On information and belief, Defendants also represented that the First
    27

    28

                                                 9
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     1
         Generation Four Stroke Outboards were “high power” model engines and that the

     2 Yamaha brand was respected for “unmatched reliability and durability.”

     3
              36. By marketing, selling and distributing First Generation Four Stroke
     4

     5 Outboards to purchasers in the United States, Defendants made actionable

     6 statements that the ordinary use of the outboards would not involve undisclosed

     7
         safety risks. Further, Defendants concealed what they knew or should have known
     8

     9 about the safety risks resulting from the material defects in design and/or

    10 manufacture.

    11
              37. Additionally, in marketing, selling and distributing First Generation Four
    12

    13 Stroke Outboards to purchasers in the United States, Defendants concealed or

    14 failed to disclose to these purchasers, including Plaintiffs and the Class members,

    15
         that in order to keep the outboards in use after the warranty period, extraordinary
    16

    17 repair or replacement costs would be required.

    18        38. Defendants engaged in the above-described actionable statements,
    19
         omissions and concealments with knowledge that the representations were false
    20

    21 and misleading, and with the intent that consumers rely upon such concealment,

    22 suppression and omissions.        Alternatively, Defendants were reckless in not
    23
         knowing that these representations were false and misleading at the time they were
    24

    25 made. Defendants obviously had exclusive access to data and research conducted

    26 prior to the design and manufacture of the outboards.

    27

    28

                                                 10
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     1
              39. Repair or replacement of corroded parts in First Generation Four Stroke

     2 Outboards involves significant cost and expense to consumers such as Plaintiffs

     3
         and the other members of the Class. Further, once the corrosion problems were
     4

     5 detected, some consumers incurred the premature expense of purchasing a new

     6 outboard engine, rather than paying the prohibitive cost of repairs (in some cases,

     7
         owners reported being faced with repair estimates totaling 50% of the cost of
     8

     9 simply abandoning the defective outboard and purchasing a new engine from the

    10 dealer). One owner reported in an online post that, faced with severe corrosion to

    11
         both his twin First Generation Four Stroke Outboards, he spent $34,000 to replace
    12

    13 the engines with new ones, discarding the old engines after only 500 hours of use.

    14                           PLAINTIFFS’ EXPERIENCES
    15
               Plaintiff George Williams
    16

    17        40. Plaintiff George Williams (“Williams”) purchased a boat equipped with a
    18 new First Generation Four Stroke Outboard (Yamaha model number F200), from

    19
         Jacobsen’s Marine in Seattle, Washington, one of Defendants’ authorized dealers
    20

    21 of new Yamaha outboards, on September 6, 2003. Williams used his outboard

    22 approximately 650 hours between September 6, 2003 and November 15, 2011,

    23
         without incident and with regularly scheduled service.       Williams otherwise
    24

    25 followed all recommended maintenance procedures for his First Generation Four

    26 Stroke Outboard engine.

    27

    28

                                                11
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     1
              41. After Williams noticed that his boat was leaking oil, he brought the boat

     2 in to Jacobsen’s Marine for service and inspection on November 15, 2011. On

     3
         information and belief, Jacobsen’s Marine is an authorized Yamaha outboard
     4

     5 motor dealer.    Williams brought the boat for inspection at Jacobsen’s place of

     6 business.

     7
              42. Williams was told he needed replacement of his oil pump on his outboard
     8

     9 engine. When the mechanic took the head of the engine off to begin the oil pump

    10 replacement,    he discovered severe corrosion damage to internal engine
    11
         components. In the end, Williams paid a repair invoice in the total amount of
    12

    13 $3,011.91, which included a $1,001.10 charge for parts and labor incurred to

    14 replace the corroded engine oil pan, exhaust manifold, and other component parts.

    15
         Regarding the $1,001.10 charge to Williams related to the corrosion, the service
    16

    17 technician detailed the repair work as follows:

    18         FOUND CORROSION ON OIL PAN AND EXHAUST PARTS.
               REMOVED GEARCASE AND DISASSEMBLED EXHAUST HSG
    19         COMPLETE. REPLACED ALL CORRODED PARTS. ASSEMBLED
               EXHAUST HSG AND INSTALLED GEARCASE. INSTALLED
    20         POWERHEAD ASSY. STARTED AND RAN MOTOR IN TANK.
               CHECKED OPERATION, GOOD. INSPECTED FOR LEAKS OF OIL,
    21         WATER OR FUEL, NONE.
    22         See Exhibit B.
    23         Plaintiff Lorenda Overman
    24
              43. Plaintiff Lorenda Overman (“Overman”) purchased a new Yamaha F225
    25

    26 TXRD First Generation Four Stroke Outboard, from one of Defendants’ authorized

    27 dealers on February 3, 2005. Overman used her outboard approximately 512 hours

    28

                                                12
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     1
         between 2005 and 2011 without incident and with regularly scheduled service,

     2 following recommended maintenance procedures.

     3
              44. In September 2011, while at sea nearby the Cape Lookout Lighthouse
     4

     5 near Core Banks, North Carolina, without warning, her F225 engine started to

     6 overheat and promptly failed. Overman and her guests were rescued at sea and

     7
         towed back to shore.
     8

     9        45. Overman brought her boat and failed F225 outboard engine for service to

    10 70 West Marina, in Morehead City, North Carolina. 70 West Marina is an

    11
         authorized Yamaha outboard motor dealer.              70 West Marina immediately
    12

    13 contacted Yamaha about the problem, but was told that the warranty had expired

    14 on Overman’s outboard motor.

    15
              46. At 70 West Marina, upon removing the power head and the lower unit,
    16

    17 Overman’s mechanic discovered corrosion to internal components including a

    18 “rotten” exhaust tuner and a hole in the exhaust housing.

    19
              47. On October 20, 2011, Overman paid her final total repair bill related to
    20

    21 the corrosion problem and engine failure in the amount of $3,118.44. Overman

    22 was also deprived of the use of her boat for an extended period of time in the Fall

    23
         of 2011 as a result of the failure and substantial repairs.
    24

    25        48. Overman later communicated with Defendants in an effort to get relief
    26 for the engine failure and corrosion related repairs, but after requesting repair

    27

    28

                                                    13
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     1
         records from Overman in June 2013, Yamaha has offered no remedy and has not

     2 returned Overman’s voicemail messages.

     3
               Plaintiff Gerald Chiariello II
     4

     5        49. Plaintiff Gerald Chiariello II (“Chiariello”) purchased a new Yamaha

     6 F225 TXRD First Generation Four Stroke Outboard on May 6, 2006, from Great

     7
         Oak Marina in St. James, New York, one of Defendants’ authorized dealers.
     8

     9 Chiariello’s outboard engine was a model year leftover and was a first-generation

    10 model manufactured in 2004 before Defendants’ design change, and according to

    11
         its Certificate of Origin, was first transferred to a Yamaha distributor for sale on
    12

    13 August 19, 2004.

    14        50. Chiariello used the outboard approximately 380 hours between May
    15
         2006 and March 2012, and had the engine serviced regularly and followed all
    16

    17 recommended maintenance procedures, exclusively using Yamaha parts and fluids.

    18        51. After hearing on the internet about widespread dry exhaust corrosion
    19
         problems with First Generation Four Stroke Outboards, while performing a water
    20

    21 pump change, Chiariello removed the lower unit himself and examined his engine

    22 with the aid of a bore scope and camera. With the disassembly of the lower unit

    23
         and with the aid of these tools, Chiariello was able to detect several areas of
    24

    25 complete corrosion all the way through the exhaust chamber.

    26        52. Chiariello had an inspection conducted at Alhambra Marine, an
    27
         authorized Yamaha dealer in Seaford, New York. After an examination confirmed
    28

                                                 14
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     1
         the rampant corrosion to the dry exhaust chamber, Chiariello had the F225

     2 outboard repaired at a total cost of $2,574.88.

     3
              53. Chiariello wrote a letter to Yamaha explaining the corrosion damage and
     4

     5 repairs. Defendants and their representatives denied any assistance or relief, taking

     6 the position that his engine was no longer covered by the YMUS warranty.

     7
               Plaintiff Charles Pencinger
     8

     9        54. Plaintiff Charles Pencinger (“Pencinger”) was not the original purchaser

    10 of his First Generation Four Stroke Outboards, but purchased two outboards,

    11
         specifically a 2003 F225 TXRB model and a LF225TXRB model, in September
    12

    13 2010.

    14        55. At all times, Pencinger had the outboards regularly serviced and
    15
         maintained, consistent with Yamaha’s recommendations
    16

    17        56. Like Chiariello, Pencinger reviewed an internet discussion of widespread

    18 dry exhaust corrosion problems with First Generation Four Stroke Outboards.

    19
         Although no corrosion was outwardly visible without disassembly of the engine,
    20

    21 and although there had been no prior warning signs that his engine was suffering

    22 from corrosion, Pencinger concluded based on the internet chatter about Yamaha’s

    23
         problem with First Generation Four Stroke Outboards that he needed to perform a
    24

    25 closer inspection.

    26        57. In March 2013, Pencinger opened up his outboard engine by dropping the
    27
         lower units, and thus was able to perform an internal inspection.
    28

                                                  15
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     1
              58. With the dropping of the lower units, Pencinger discovered severe

     2 internal corrosion to the dry exhaust chambers, and promptly took the engine in for

     3
         service and inspection.
     4

     5        59. In April 2013, Pencinger had the two F225 engine repaired for a total

     6 cost of $3,908.63.

     7
              60. Pencinger attempted to seek relief from Yamaha and spoke with one of
     8

     9 Defendants’ representatives; however, he was informed that his motors were out of

    10 warranty and that there was nothing Yamaha would do for him.

    11
               Plaintiff Steve Oetegenn
    12

    13        61. Plaintiff Steve Oetegenn (“Oetegenn”) was not the original purchaser of

    14 his First Generation Four Stroke Outboards, but purchased two 2004 model

    15
         outboards in 2006.
    16

    17        62. Oetegenn requested and received a change of registration on YMUS’s

    18 extended warranties on the outboards, which transferred the extended warranties to

    19
         Oetegenn as a subsequent purchaser.
    20

    21        63. At all times, Oetegenn had the outboards regularly serviced and
    22 maintained, consistent with Yamaha’s recommendations.

    23
              64. In 2012, during a sea trial while Oetegenn was about to close the sale of
    24

    25 his boat, one of his outboard engines began to emit smoke. Oetegenn took the boat

    26 to be serviced and was told that both engines had suffered severe corrosion to the

    27
         dry exhaust components and that a repair would cost up to $20,000, as the
    28

                                                16
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     1
         corrosion was so severe that repair would require the extreme measure of

     2 replacement of the power heads.

     3
              65. At the time of the discovery of the corrosion, Oetegenn’s First
     4

     5 Generation Four Stroke Outboards had only 500 hours of use.

     6        66. Rather than undergo the $20,000 repair on the outboards, Oetegenn
     7
         elected on May 30, 2012, to purchase two new F225 outboards at a total cost of
     8

     9 $31,337.62.

    10        67. Oetegenn wrote two letters to Yamaha to request assistance, but no relief
    11
         was forthcoming. Defendants and their representatives contended that because his
    12

    13 engines were out of warranty after the extended warranties expired, the company

    14 would not help him.

    15
                               ADDITIONAL COMMON FACTS
    16

    17        68. Plaintiffs were not alone in experiencing rampant corrosion in their First

    18 Generation Four Stroke Outboards or in incurring significant repair costs. As was

    19
         reported in a story published in the October/November 2012 edition of BoatUS
    20

    21 Magazine (the “BoatUS Magazine article”), the unusual corrosion problems

    22 specifically among First Generation Four Stroke Outboards led to a series of

    23
         complaints with BoatUS’s Consumer Protection Bureau. Plaintiffs’ experiences
    24

    25 with corrosion were typical of the commonly reported problems.

    26        69. As the BoatUS Magazine article reports, First Generation Four Stroke
    27
         Outboards have repeatedly manifested the specific problem that after 500 to 700
    28

                                                 17
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     1
         hours of use, the engine’s exhaust gases corrode the exhaust tube and sometimes

     2 also the engine’s oil pan, which is in the same area. The BoatUS Magazine article

     3
         quotes an interview with a marine surveyor: “I’ve seen the damage to six engines
     4

     5 myself, and know of least a dozen others in the New Jersey area.”

     6        70. The same surveyor told BoatUS Magazine that the failure not was not
     7
         outwardly visible. This is entirely consistent with Plaintiffs’ experiences as related
     8

     9 above, as the dry exhaust corrosion problem was not visible to them absent the

    10 disassembly of their outboard engines. According to the surveyor, the engine may

    11
         lose power and begin to smoke, and in some cases, the oil dipstick can be blown
    12

    13 out of the engine from the exhaust gas pressure.

    14        71. BoatUS Magazine reported that a marine surveyor in Massachusetts
    15
         inspected three ruined First Generation Four Stroke Outboards and determined that
    16

    17 because the corrosion happened internally, and to the dry side of the exhaust where

    18 no cooling water is present, then flushing procedures would have no effect on the

    19
         buildup of corrosion. BoatUS Magazine reported the surveyor to opine that there
    20

    21 was nothing an owner could have done to prevent serious corrosion from

    22 eventually eating through the exhaust system. Indeed, flushing only affects the

    23
         water passages on the “wet” side of the engines, and while effective in getting salt
    24

    25 and debris out of these passages, makes no difference to the performance of

    26 component parts in the dry exhaust cavities.

    27

    28

                                                  18
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     1
              72. After publication of the BoatUS Magazine article, on or about March 18,

     2 2013, BoatUS’s Director of Consumer Protection announced by email to a group

     3
         of BoatUS members that BoatUS had been negotiating with Defendants on a
     4

     5 “program” to address the corrosion in the First Generation Four Stroke Outboards.

     6 According to BoatUS, Defendants agreed to gather information and obtain service

     7
         records from BoatUS members experiencing a problem, and make a determination
     8

     9 on a case-by-case basis.

    10        73. Over the ensuing weeks, the BoatUS members exchanged emails with
    11
         one another regarding their common experiences with problems with First
    12

    13 Generation Four Stroke Outboards, their attempts to seek relief from Yamaha, and

    14 their participation in the “program” announced as a result of the BoatUS-led

    15
         negotiations. These BoatUS members are all members of the proposed Class of
    16

    17 purchasers of First Generation Four Stroke Outboards located throughout the

    18 United States.

    19
              74. The BoatUS members exchanging emails reported many instances of
    20

    21 expensive repair costs incurred as the result of problems with their First Generation

    22 Four Stroke Outboards, including problems as serious as complete engine failure,

    23
         and experienced with as few as 450 hours of use. The BoatUS members reported
    24

    25 spending as much as $10,000 per engine to have repairs completed and necessary

    26 component parts replaced.     Some owners reported using two outboard engines
    27
         operating on the same boat, doubling the cost of repairs. They reported similar
    28

                                                19
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     1
         experiences in that the corrosion occurred even though they had properly

     2 maintained the engines including flushing the engines regularly as recommended.

     3
              75. The BoatUS members’ complaints demonstrate Yamaha’s complete
     4

     5 failure to provide a satisfactory remedy to resolve the defects or to compensate

     6 their customers for their economic losses caused by the defective condition of the

     7
         First Generation Four Stroke Outboards.
     8

     9        76. As detailed in the email exchanges, one BoatUS member who took

    10 advantage of the “program” announced as a result of the BoatUS-led negotiations

    11
         was offered $700 toward his $5,000 repair cost, which he rejected.        Another
    12

    13 member participating in the “program” was denied any assistance at all on his

    14 $4,139.65 repair bill. Other members participating in the “program” rejected offers

    15
         from Defendants amounting to nothing more than an extended warranty only if a
    16

    17 new motor was purchased. Still other members reported that they submitted their

    18 information to Yamaha, but did not hear back from them.

    19
              77. In short, based on available information, Defendants’ “program” did little
    20

    21 if anything to correct the problem or remedy the losses of the members of the

    22 Class. This is entirely consistent with Plaintiffs’ experiences as related above of

    23
         seeking relief from Yamaha, but getting nothing in return.
    24

    25        78. Further, many BoatUS members reported being told by Defendants that it
    26 disclaimed liability for the defect due to the expiration of their three-year

    27
         warranties, requiring customers to pay for the repairs or replacement of component
    28

                                                   20
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     1
         parts themselves. Defendants never, however, denied them relief because they

     2 were requesting coverage of damages excluded under the terms of the warranties.

     3
              79. Aside from the BoatUS email exchanges, the problems with corrosion in
     4

     5 First Generation Four Stroke Outboards were also a frequent topic in online forums

     6 frequented     by   boating   enthusiasts.         As   an   example,   one   post   at
     7
         www.yamahaoutboardparts.com detailed dry exhaust corrosion issues developing
     8

     9 after only 450 hours of use and which led to a $4,000 repair estimate for parts

    10 alone (not including labor), which the customer compared and described as “like a

    11
         young kid needing a ‘root canal’.”
    12

    13        80. Other online comments support the fact discussed by the BoatUS

    14 members, that the problems with internal corrosion to the dry exhaust internal

    15
         component parts were not outwardly visible, even to those making inspection with
    16

    17 the aid of flashlights, having been made aware of the bad corrosion history of the

    18 First Generation Four Stroke Outboards.           Indeed, on numerous occasions, it is
    19
         consistently reported by owners that the internal corrosion was only visible upon
    20

    21 professional disassembly and removal of the power heads.

    22        81. The undisclosed defects are material because neither Plaintiffs nor the
    23
         members of the Class would have purchased the First Generation Four Stroke
    24

    25 Outboards if they had known of the defect.

    26        82. An expensive new outboard engine is not meant to be disposable at the
    27
         conclusion of the manufacturers’ warranty. Outboard engines, if properly used and
    28

                                                    21
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     1
         maintained, can and should last for a long time. Specifically, an outboard engine

     2 should perform and function for as many as two thousand hours of use before the

     3
         engine becomes in need of an overhaul. Therefore, the presence of a defect which
     4

     5 would necessitate a major overhaul or expensive replacement of internal

     6 component parts, within 500 to 700 hours of use, is material information to

     7
         consumers.
     8

     9        83. A reasonable consumer would not expect the onset of serious corrosion

    10 relatively early in the useful life of the motors, with the motors being properly

    11
         maintained.   This is true regardless of the durational period of any written
    12

    13 warranty. To enjoy the outboard engine for its intended use, a consumer would not

    14 expect to have to incur very expensive repair and replacement costs in order to be

    15
         able to use the outboards beyond the durational period of the written warranty and
    16

    17 after as few as 500 hours of use.

    18        84. The internal component parts reported to have suffered widespread
    19
         problems with corrosion, including the engine oil pan and exhaust tubes, are
    20

    21 integral to the operation of the engines. The severe corrosion of internal parts and

    22 components such as the engine oil pan and the exhaust tubes leads to increased risk

    23
         of total engine failure while on the water or at sea. Indeed, without correction, the
    24

    25 damage to internal parts caused by the corrosion would ultimately lead to

    26 inevitable engine failure while on the water or at sea.

    27

    28

                                                  22
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     1
              85. The widely reported problems with severe corrosion to internal dry

     2 exhaust components in the First Generation Four Stroke Outboards is not believed

     3
         to be salt-water related. On information and belief, the severe corrosion was
     4

     5 experienced by owners who used their boats on fresh water as well as those who

     6 used their boats at sea.

     7
              86. Based on the increased risk of engine failure alone, the First Generation
     8

     9 Four Stroke Outboards purchased by all Class members were worth less than the

    10 purchase price that was paid.

    11
              87. The possibility of a complete engine failure while at sea is a serious
    12

    13 known safety risk for boat operators. Because of the latent undisclosed defects,

    14 Plaintiffs and the other members of the Class unknowingly took additional safety

    15
         risks from use of the First Generation Four Stroke Outboard motors. Plaintiffs and
    16

    17 the Class expressly disclaim any recovery for physical injury flowing from

    18 accidents caused by corrosion to the Yamaha outboard motors at issue.

    19
         Nevertheless, the increased safety risk they took is an obvious consequence of
    20

    21 Defendants’ defective design and serves as an independent justification for the

    22 relief sought by Plaintiffs and the Class.

    23
              88. On information and belief, second generation or next-generation high
    24

    25 powered four stroke outboard motors were introduced by Defendants on or around

    26 2005.

    27

    28

                                                    23
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     1
              89. On information and belief, second generation or next-generation high

     2 powered four stroke outboard motors manufactured, marketed and sold by

     3
         Defendants from around 2005 onward had a design change which corrected the
     4

     5 defect and as a result, the problems with massive corrosion to internal components

     6 with four stroke motors ceased to exist and was no longer an issue for Yamaha or

     7
         for their customers.
     8

     9        90. On information and belief, the design change introduced in 2005 dealt

    10 with the materials used in coating the dry exhaust cavities, and/or the methods by

    11
         which Defendants apply the coating to the internal cooling passages of the high
    12

    13 powered four stroke outboard motors. One affected owner went online to describe

    14 new F225 replacement parts he had seen, which he described as having on it “a

    15
         coating like a frying pan . . . that the old one never had.” Another online comment
    16

    17 from an owner who was sent replacement exhaust manifold parts identified a new

    18 coating which appeared on the replacement parts, which was described as

    19
         appearing “on all the surfaces (internal and external)” and that it was “similar to
    20

    21 Teflon.”

    22        91. The development and implementation of the design change to the second
    23
         or next generation of high powered four stroke outboard motors (and the
    24

    25 replacement parts provided for damaged First Generation Four Stroke Outboards)

    26 without remedying the known problems with the First Generation Outboards

    27
         demonstrates Defendants’ knowledge or recklessness with regard to the extensive
    28

                                                 24
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     1
         corrosion problem experienced by purchasers of First Generation Four Stroke

     2 Outboards.

     3
              92. By coating the new parts differently, and by coating the internal
     4

     5 components of the next generation or second generation four stroke motors

     6 differently, Defendants have admitted that there is a defect with the First

     7
         Generation Four Stroke Outboards. However, Defendants have not publically
     8

     9 acknowledged the problem, have remained silent in hopes that the problem would

    10 quietly disappear, have not issued a service bulletin to fix the defective parts, have

    11
         not instituted a recall of the defective products, and have not financially
    12

    13 compensated the purchasers of the defective products or otherwise remedied the

    14 problems experienced by their customers in any meaningful way.

    15
                                     CLASS ALLEGATIONS
    16

    17        93. Plaintiffs repeat and re-allege every allegation above as if set forth herein
    18 in full.

    19
              94. As detailed herein, Plaintiffs bring this action on their own behalf and on
    20

    21 behalf of a Class and/or Subclasses under Rules 23(a) and (b)(2) and (b)(3) of the

    22 Federal Rules of Civil Procedure.

    23
              95. The Class is defined as:
    24

    25
                     All residents of the United States, or residents in such states as the
                     Court determines to be appropriate, who purchased one or more First
    26
                     Generation Four Stroke Outboards.

    27        96. The following alternative Subclasses are defined as:
    28

                                                  25
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                     All California residents (and residents of such additional states as the
     1               Court determines to be appropriate) who purchased one or more First
                     Generation Four Stroke Outboards.
     2
                     All Massachusetts residents (and residents of such additional states as
     3               the Court determines to be appropriate) who purchased one or more
                     First Generation Four Stroke Outboards (the “Massachusetts
     4               Subclass”).
     5               All New York residents (and residents of such additional states as the
                     Court determines to be appropriate) who purchased one or more First
     6               Generation Four Stroke Outboards (the “New York Subclass”).
     7               All North Carolina residents (and residents of such additional states as
                     the Court determines to be appropriate) who purchased one or more
     8               First Generation Four Stroke Outboards (the “North Carolina
                     Subclass”).
     9
                     All Washington residents (and residents of such additional states as
    10               the Court determines to be appropriate) who purchased one or more
                     First Generation Four Stroke Outboards (the “Washington Subclass”).
    11

    12
              97. Excluded from the Class and the Subclasses, but only to the extent that
    13

    14 the Class and/or the Subclasses assert claims for breach of state express and

    15
         implied warranties and/or claims under the Magnuson-Moss Warranty Act, are
    16
         non-registered purchasers ineligible for warranty coverage because (a) they are an
    17

    18 original purchaser but did not register their purchase with Yamaha, or (b) they are

    19
         a subsequent purchaser but did not properly transfer the warranty by registering the
    20
         transfer with Yamaha. These non-registered purchasers will be readily identifiable
    21

    22 simply by their absence from Defendants’ registration records.

    23
              98. Also excluded from the Class and the Subclasses are individuals who
    24
         have claims for personal injury resulting from failure of Yamaha outboard motors.
    25

    26        99. Also excluded from the Class and the Subclasses are Defendants; any
    27
         affiliate, parent, or subsidiary of Defendants; any entity in which Defendants have
    28

                                                 26
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     1
         a controlling interest; any officer, director, or employee of Defendants; any

     2 successor or assign of Defendants; any Judge to whom this case is assigned as well

     3
         as his or her immediate family and staff; and anyone who purchased First
     4

     5 Generation Four Stroke Outboard motors for resale.

     6        100.    Plaintiffs reserve the right to amend or modify the Class definitions in
     7
         connection with a motion for class certification or with the result of discovery.
     8

     9        101.    This action has been brought and may properly be maintained on

    10 behalf of the Class proposed herein under the criteria of Federal Rule of Civil

    11
         Procedure 23.
    12

    13        102.    Plaintiffs do not know the exact size or identities of the proposed

    14 Class, however, Plaintiffs believe that the Class encompasses many thousands or

    15
         tens of thousands of individuals who are dispersed geographically throughout the
    16

    17 United States. Therefore, the proposed Class is so numerous that joinder of all

    18 members is impracticable. Class members may be notified of the pendency of this

    19
         action by mail and/or electronic mail, supplemented if deemed necessary or
    20

    21 appropriate by the Court by published notice.

    22        103.    There are questions of law and fact that are common to the Class, and
    23
         predominate over any questions affecting only individual members of the Class.
    24

    25 The damages sustained by Plaintiffs and the other members of the Class flow from

    26 the common nucleus of operative facts surrounding Defendants’ misconduct. The

    27
         common questions include, but are not limited to the following:
    28

                                                   27
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     1
               a.   whether Defendants failed to comply with their express and implied

     2              warranties;
     3
               b.   whether the limits on Defendant YMUS’ express warranty are
     4

     5              enforceable;

     6         c.   whether Defendants provided Plaintiffs and the other Class members
     7
                    with an outboard motor with defective design and/or manufacture
     8

     9              which led to premature onset of corrosion;

    10         d.   whether Plaintiffs’ and the Class members’ outboard motors have a
    11
                    lower market value as a result of the defective design and/or
    12

    13              manufacture;

    14         e.   whether Defendants knew or should have known of the defective
    15
                    design and/or manufacture;
    16

    17         f.   whether the defective design and/or manufacture constitute material

    18              facts to purchasers of the First Generation Four Stroke Outboards;
    19
               g.   whether Defendants have a duty to disclose the defective nature of the
    20

    21              outboard motors;
    22         h.   whether the defective design and/or manufacture leads to premature
    23
                    onset of corrosion in the First Generation Four Stroke Outboards;
    24

    25         i.   whether the defective design and/or manufacture leads to increased
    26              damage to other component parts, engine failure, and associated
    27
                    safety risks;
    28

                                                 28
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     1
                j.   whether Defendants have engaged in unlawful, unfair or fraudulent

     2               business practices;
     3
                k.   whether Defendants have engaged in unfair or deceptive acts or
     4

     5               practices;

     6          l.   whether Plaintiffs and the other Class members are entitled to
     7
                     equitable relief, including but not limited to restitution or injunctive
     8

     9               relief;

    10          m. whether Plaintiffs and the other Class members are entitled to
    11
                     damages and other monetary relief and, if so, in what amount.
    12

    13        104.   Plaintiffs’ claims are typical of the claims of the Class and do not

    14 conflict with the interests of any other members of the Class in that both the

    15
         Plaintiffs and the other members of the Class purchased First Generation Four
    16

    17 Stroke Outboards with the same defective design and/or manufacture.

    18        105.   Plaintiffs will fairly and adequately represent the interests of the
    19
         Class. They are committed to the vigorous prosecution of the Class’ claims and
    20

    21 have retained attorneys who are qualified to pursue this litigation and are

    22 experienced in class action litigation.

    23
              106.   A class action is superior to other methods for the fair and efficient
    24

    25 adjudication of this controversy. While substantial, the damages suffered by each

    26 individual Class member do not justify the burden and expense of individual

    27
         prosecution of the complex and extensive litigation necessitated by Defendants’
    28

                                                  29
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     1
         conduct. Further, it would be virtually impossible for the members of the Class to

     2 individually and effectively redress the wrongs done to them.            A class action
     3
         regarding the issues in this case does not create any problems of manageability.
     4

     5 The class action device presents far fewer management difficulties than alternative

     6 methods of adjudication, and provides the benefits of single adjudication, economy

     7
         of scale, and comprehensive supervision by a single court.
     8

     9        107.    In the alternative, the Class may be certified because:

    10                i. the prosecution of separate actions by the individual members of
    11
                         the Class would create a risk of inconsistent or varying
    12

    13                   adjudication with respect to individual Class members which

    14                   would establish incompatible standards of conduct for Defendants;
    15
                     ii. The prosecution of separate actions by individual Class members
    16

    17                   would create a risk of adjudications with respect to them which

    18                   would, as a practical matter, be dispositive of the interests of the
    19
                         other Class members not parties to the adjudications, or
    20

    21                   substantially impair or impede the ability to protect their interests;
    22                   and
    23
                     iii. Defendants have acted or refused to act on grounds generally
    24

    25                   applicable to the Class, thereby making appropriate final and
    26                   injunctive relief with respect to the members of the Class as a
    27
                         whole.
    28

                                                   30
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     1                                           COUNT I
     2     VIOLATIONS OF MAGNUSON-MOSS FEDERAL WARRANTY ACT
                                 15 U.S.C. §2301, et seq.
     3           (On Behalf of Plaintiffs Williams, Overman, Chiariello,
                                Oetegenn and the Class)
     4

     5
              108.   Plaintiffs Williams, Overman, Chiariello and Oetegenn repeat and re-

     6 allege every allegation above as if set forth herein in full.

     7
              109.   Yamaha’s First Generation Four Stroke Outboards constitute
     8

     9 “consumer products,” as defined in 15 U.S.C. §2301.

    10        110.   Plaintiffs Williams, Overman, Chiariello and Oetegenn and the other
    11
         Class members are “consumers,” as defined in 15 U.S.C. §2301.
    12

    13        111.   Defendants are “suppliers” of the First Generation Four Stroke

    14 Outboards as defined in 15 U.S.C. §2301.

    15
              112.   Defendant YMUS is a “warrantor” as defined in 15 U.S.C. §2301.
    16

    17        113.   Defendant YMUS supplied a “written warranty” regarding their First

    18 Generation Four Stroke Outboards, as defined in 15 U.S.C. §2301(6).

    19
              114.   As suppliers and in connection with the sale of First Generation Four
    20

    21 Stroke Outboards, Defendants made “implied warranties” arising under State law

    22 regarding their First Generation Four Stroke Outboards, as defined in 15 U.S.C.

    23
         §2301(7).
    24

    25        115.   The warranties made by Defendants pertained to consumer products
    26 costing the consumer more than five dollars, see 15 U.S.C. §2302(e).

    27

    28

                                                  31
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     1
              116.   Plaintiffs Williams, Overman, Chiariello and Oetegenn invoke federal

     2 jurisdiction for their claims stated under this Count pursuant to the Class Action

     3
         Fairness Act.
     4

     5        117.   Defendants violated the Magnuson-Moss Federal Warranty Act by

     6 their failure to comply with the express and implied warranties        they made to
     7
         Plaintiffs and other Class members. See 15 U.S.C. §2301, et seq.
     8

     9        118.   Based on the facts alleged herein, any durational limitation to the

    10 warranties that would otherwise bar the Magnuson-Moss Federal Warranty Act

    11
         claims in this Count, whether premised upon express or implied warranty, is
    12

    13 procedurally and substantively unconscionable under federal law and the

    14 applicable state common law.

    15
              119.   Based on the facts alleged herein, any durational limitation to the
    16

    17 warranties that would otherwise bar the claims in this Count is tolled under

    18 equitable doctrines.

    19
              120.   Plaintiffs Williams, Overman, Chiariello and Oetegenn, and the other
    20

    21 Class members, sustained injuries and damages as a proximate result of

    22 Defendants’ violation of their written and/or implied warranties, and are entitled to

    23
         legal and equitable relief against Defendants, including economic damages,
    24

    25 rescission or other relief as appropriate.

    26

    27

    28

                                                    32
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     1
                                                 COUNT II

     2                     BREACH OF STATE EXPRESS WARRANTIES
     3             (On Behalf of Plaintiffs Williams, Overman, Chiariello, Oetegenn and
                  the Washington, North Carolina, New York and California Subclasses)
     4
              121.     Plaintiffs Williams, Overman, Chiariello and Oetegenn repeat and re-
     5

     6 allege every allegation above as if set forth herein in full.

     7
              122.     Defendants’ actions, as complained of herein, violate state express
     8
         warranty statutes in the States of Washington (Wa. Ann. 62A.2-313), North
     9

    10 Carolina (N.C. Gen. Stat. Ann. §25-2-313), New York (N.Y. U.C.C. Law §2-313)

    11
         and California (California Commercial Code §2313). This Count is thus brought
    12
         collectively on behalf of the Washington, North Carolina, New York and
    13

    14 California Subclasses, and is intended to be repeated individually for each of the

    15
         Subclasses as necessary.
    16
              123.     Defendants, acting in unison and as agents of one another, marketed
    17

    18 and sold and distributed First Generation Four Stroke Outboards to Plaintiffs

    19
         Williams, Overman, Chiariello and Oetegenn and the members of the respective
    20
         state Subclasses in the regular course of their business.
    21

    22        124.     Defendants expressly represented and warranted, by and through
    23
         statements, descriptions, and affirmations of fact made by Defendants or their
    24

    25
         authorized agents or sales representatives, that First Generation Four Stroke

    26 Outboards were free of defects and were safe for ordinary use on recreational

    27
         boats.
    28

                                                   33
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     1
              125.    Further, Defendant YMUS issued a written warranty accompanying

     2 Defendants’ outboard motors, see Exhibit A hereto, which expressly warranted that

     3
         the First Generation Four Stroke Outboards were free from defects in materials and
     4

     5 workmanship and fit for their intended use. The written warranty provided that the

     6 outboards “will be free from defects in material and workmanship.”

     7
              126.    In reliance upon said express warranties by Defendants, Plaintiffs
     8

     9 Williams, Overman, Chiariello and Oetegenn, and the members of the respective

    10 state Subclasses, as referenced in this Count, purchased First Generation Four

    11
         Stroke Outboards.
    12

    13        127.    Defendants’ First Generation Four Stroke Outboards failed to comply

    14 with Defendants’ express warranties because they suffered from inherent design

    15
         and/or manufacturing defects which, from the date of purchase forward, rendered
    16

    17 the outboards unfit for their intended use and purpose.

    18        128.    When Plaintiffs’ First Generation Four Stroke Outboards failed, they
    19
         were saddled with the full cost of repairs and replacement parts.
    20

    21        129.    Defendants knew or had reason to know that First Generation Four
    22 Stroke Outboards did not conform to these express representations because they

    23
         were neither as safe, nor usable, nor free of defects, as Defendants represented.
    24

    25        130.    The First Generation Four Stroke Outboards purchased by Plaintiffs
    26 Williams, Overman, Chiariello and Oetegenn and the members of the respective

    27

    28

                                                  34
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     1
         state Subclasses, from the date of purchase forward, were not free from defects in

     2 material and workmanship.

     3
              131.   Defendants’ actions, as complained of herein, violate state express
     4

     5 warranty statutes in the States of Washington, North Carolina, New York and

     6 California.    This Count is thus brought on behalf of the Washington, North
     7
         Carolina, New York and California Subclasses, as well as other members of the
     8

     9 Class who are residents in other states as the Court determines to be appropriate,

    10 where the statutes outlining the cause of action for a breach of express warranty are

    11
         substantially the same, or where similarities of the statutes vastly outweigh any
    12

    13 differences in them.

    14        132.   Defendants’ breach of their express warranties directly and
    15
         proximately caused Plaintiffs Williams, Overman, Chiariello and Oetegenn, and
    16

    17 the members of the respective state Subclasses, to suffer economic losses,

    18 including but not limited to damages at the point of sale in terms of the difference

    19
         between the value of the defective products as promised and the value of the
    20

    21 products as delivered, and also paying for defective products and entering into

    22 transactions they would not have entered into but for Defendants’ acts.

    23
              133.   Based on the facts alleged herein, any durational limitation to the
    24

    25 express or implied warranties that would otherwise bar the warranty claims in this

    26 Count is procedurally and substantively unconscionable.

    27

    28

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     1
              134.    Based on the facts alleged herein, any durational limitation to the

     2 warranties that would otherwise bar the claims in this Count is tolled under

     3
         equitable doctrines.
     4

     5        135.    Plaintiffs by and through their counsel notified Defendants in writing

     6 by certified mail of the particular violations which form the basis of this Count and

     7
         demanded that Defendants rectify the problems for all affected consumers,
     8

     9 including Plaintiffs Williams, Overman, Chiariello, Oetegenn and the members of

    10 the respective state Subclasses. A copy of the letter is attached hereto as Exhibit C.

    11
         Defendants did not respond to the letter. In addition, Defendants were on notice of
    12

    13 the defects from complaints and service requests it has received from Plaintiffs and

    14 other members of the Class, as well as through its own internal investigations as

    15
         reported in the BoatUS article.
    16

    17        136.    Plaintiffs and the members of the Washington, North Carolina, New

    18 York and California Subclasses are entitled to legal, injunctive and equitable relief

    19
         against Defendants, including damages, injunctive relief including recall and
    20

    21 replacement, restitution, attorneys’ fees, costs and/or other relief as appropriate.

    22                                          COUNT III
    23
                           BREACH OF STATE IMPLIED WARRANTIES
    24

    25          (On Behalf of Plaintiffs Williams, Overman, Chiariello and Oetegenn
                  and the Washington, North Carolina, New York and California
    26                                        Subclasses)
    27

    28

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     1
              137.    Plaintiffs Williams, Overman, Chiariello and Oetegenn repeat and re-

     2 allege every allegation above as if set forth herein in full.

     3
              138.    Defendants’ actions, as complained of herein, violate implied
     4

     5 warranty of merchantability statutes in the State of Washington (Wa. Ann. 62A.2-

     6 314), North Carolina (N.C. Gen. Stat. Ann. §25-2-314), New York (N.Y. U.C.C.

     7
         Law §2-314) and California (California Civil Code §1792). This Count is thus
     8

     9 brought collectively on behalf of the Washington, North Carolina, New York and

    10 California Subclasses, and is intended to be repeated individually for each of the

    11
         Subclasses as necessary.
    12

    13        139.    Defendants marketed and sold First Generation Four Stroke

    14 Outboards to Plaintiffs Williams, Overman, Chiariello and Oetegenn, and the

    15
         members of the respective state Subclasses as referenced in this Count, in the
    16

    17 regular course of business.

    18        140.    Defendants impliedly warranted that the First Generation Four Stroke
    19
         Outboards were of merchantable quality, would pass without objection in the trade
    20

    21 or business under the contract description, and were free of material defects and fit

    22 for the ordinary purposes for which they are used.

    23
              141.    The implied warranty included, among other things, a warranty that
    24

    25 the First Generation Four Stroke Outboards were safe for use and that they would

    26 not be subject to onset of severe corrosion necessitating expensive repair and

    27
         replacement costs early in their expected useful life.
    28

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     1
              142.   Defendants as sellers of the First Generation Four Stroke Outboards

     2 breached their implied warranties of merchantability by selling Plaintiff and the

     3
         Class members defective First Generation Four Stroke Outboards that developed
     4

     5 problems with severe corrosion early in their expected useful life.      The defect

     6 rendered the First Generation Four Stroke Outboards unfit for their ordinary use

     7
         and purpose. Defendants have refused to recall, repair or replace, free of charge,
     8

     9 the defective outboard motors or their component parts.

    10        143.   The inherent design and/or manufacturing defect in the First
    11
         Generation Four Stroke Outboards existed when the motors left Defendants’
    12

    13 possession and rendered the outboard motors unfit for their intended use and

    14 purpose.

    15
              144.   Defendants’ actions, as complained of herein, violate implied
    16

    17 warranty of merchantability statutes in the State of Washington, North Carolina,

    18 New York and California.          This Count is thus brought on behalf of the
    19
         Washington, North Carolina, New York and California Subclasses, as well as other
    20

    21 members of the Class who are residents in other states as the Court determines to

    22 be appropriate, where the statutes outlining the cause of action for a breach of

    23
         implied warranty of merchantability are substantially the same, or where
    24

    25 similarities of the statutes vastly outweigh any differences in them.

    26        145.   As a direct and proximate result of Defendants’ breach of its implied
    27
         warranties, Plaintiffs Williams, Overman, Chiariello and Oetegenn, and members
    28

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     1
         of the respective state Subclasses, have suffered damages and continue to suffer

     2 damages, including economic damages at the point of sale in terms of the

     3
         difference between the value of the outboard motors as promised and the value of
     4

     5 the outboard motors as delivered. Additionally, they either have incurred or will

     6 incur economic damages in the form of cost of repair or replacement.

     7
              146.   Based on the facts alleged herein, any durational limitation to the
     8

     9 express or implied warranties that would otherwise bar the warranty claims in this

    10 Count is procedurally and substantively unconscionable.

    11
              147.   Based on the facts alleged herein, any durational limitation to the
    12

    13 warranties that would otherwise bar the claims in this Count is tolled under

    14 equitable doctrines.

    15
              148.   Plaintiffs by and through their counsel notified Defendants in writing
    16

    17 by certified mail of the particular violations which form the basis of this Count and

    18 demanded that Defendants rectify the problems for all affected consumers,

    19
         including Plaintiffs Williams, Overman, Chiariello, Oetegenn and the members of
    20

    21 the respective state Subclasses. A copy of the letter is attached hereto as Exhibit C.

    22 Defendants did not respond to the letter. In addition, Defendants were on notice of

    23
         the defects from complaints and service requests it has received from Plaintiffs and
    24

    25 other members of the Class, as well as through its own internal investigations as

    26 reported in the BoatUS article.

    27

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     1
               149.    Plaintiffs Williams, Overman, Chiariello and Oetegenn, and the

     2 members of the respective state Subclasses, are entitled to legal, injunctive and

     3
         equitable relief against Defendants, including damages, injunctive relief including
     4

     5 recall and replacement, restitution, attorneys’ fees, costs and/or other relief as

     6 appropriate.

     7
                                              COUNT IV
     8
        VIOLATION OF CALIFORNIA CONSUMER LEGAL REMEDIES ACT
     9                      California Civil Code § 1750, et seq.
       (On Behalf of All Plaintiffs and the Class; Alternatively, on Behalf of Plaintiff
    10                     Oetegenn and the California Subclass)

    11         150.    Plaintiffs repeat and re-allege every allegation above as if set forth
    12
         herein in full.
    13
               151.    Defendants’ conduct that violated and continues to violate the CLRA,
    14

    15 includes without limitation, the following:

    16
                      iv. Representing that their First Generation Four Stroke Outboard
    17
                           motors have characteristics, uses, and benefits which they do not
    18

    19                     have in violation of Section 1770(a)(5); and/or
    20
                      v. Representing that their First Generation Four Stroke Outboard
    21
                           motors are of a particular standard or quality, when they are of
    22

    23                     another, in violation of Section 1770(a)(7).
    24
               152.    Plaintiffs relied on Defendants’ material misrepresentations that their
    25
         First Generation Four Stroke Outboard motors were free from defects in material
    26

    27 and workmanship.

    28

                                                    40
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     1
              153.   Defendants engaged in unfair competition or unfair or deceptive acts

     2 or practices in violation of the CLRA when Defendants failed to disclose and/or

     3
         concealed material facts from Plaintiffs and the other members of the Class,
     4

     5 namely, the defective design and/or manufacture of the First Generation Four

     6 Stroke Outboard motors, and that said outboard motors were likely to experience

     7
         prematurely serious corrosion, with attending risks of engine failure and
     8

     9 corresponding safety risks.

    10        154.   The information Defendants failed to disclose was material. Had
    11
         Defendants disclosed the defective design and/or manufacture, and that they were
    12

    13 subject to costly replacement and/or repair, consumers would have behaved

    14 differently, by either not purchasing the outboard motors in question, or insisting

    15
         on paying less for them. A reasonable consumer would not expect to have to
    16

    17 undergo extremely expensive repair and replacement of corroded component parts

    18 after as few as 500 to 700 hours of use.

    19
              155.   Plaintiffs and all members of the Class, regardless of their state of
    20

    21 residence, were harmed by Defendants’ aforementioned unlawful business acts and

    22 practices occurring in the State of California (as well as in Japan).

    23
              156.   Pursuant to §1782 of the Act, Plaintiffs by and through their counsel
    24

    25 notified Defendants in writing by certified mail of the particular violations of

    26 §1770 of the Act and demanded that Defendants rectify the problems associated

    27
         with the actions detailed above and give notice to all affected consumers of
    28

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     1
         Defendants’ intent to so act. A copy of the letter is attached hereto as Exhibit C.

     2 Defendants did not respond to the letter. In addition, Defendants were on notice of

     3
         the defects from complaints and service requests it has received from Plaintiffs and
     4

     5 other members of the Class, as well as through its own internal investigations as

     6 reported in the BoatUS article.

     7
              157.   Pursuant to §1780(d) of the Act, attached hereto as Exhibit D is the
     8

     9 affidavit showing that this action has been commenced in the proper forum.

    10        158.   Defendants failed to rectify or agree to rectify the problems associated
    11
         with the actions detailed above and give notice to all affected consumers within 30
    12

    13 days of the date of written notice.

    14        159.   Defendants’ conduct is fraudulent, wanton and malicious.
    15
              160.   Accordingly, pursuant to Cal. Civ. Code §1782(a), Plaintiffs and the
    16

    17 Class, and in the alternative Plaintiff Oetegenn and the California Subclass, seek in

    18 this Amended Complaint, in addition to equitable relief, actual, statutory and

    19
         punitive damages as permitted under the CLRA and applicable law.
    20

    21                                        COUNT V
    22       VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
    23        (On Behalf of All Plaintiffs and the Class; Alternatively, on Behalf of
                        Plaintiff Oetegenn and the California Subclass)
    24

    25        161.   Plaintiffs repeat and re-allege every allegation above as if set forth
    26 herein in full.

    27

    28

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     1
              162.   Defendants’ business acts and practices complained of were centered

     2 in, carried out, effectuated and perfected in Japan and within the State of

     3
         California. Defendants’ business acts and practices complained emanated from
     4

     5 Japan and from the State of California throughout the United States, and injured all

     6 Class members.

     7
              163.   Plaintiffs and all members of the Class, regardless of their state of
     8

     9 residence, were harmed by Defendants’ aforementioned unlawful business acts and

    10 practices occurring in the State of California (as well as in Japan).

    11
              164.   Beginning in at least 2000, Defendants committed acts of unfair
    12

    13 competition, as defined by California Business and Professions Code, §§17200, et.

    14 seq., by engaging in the acts and practices specified above.

    15
              165.   This claim is instituted on behalf of Plaintiffs and the Class, and
    16

    17 alternatively on behalf of Plaintiff Oetegenn and the California Subclass, to obtain

    18 equitable monetary and injunctive relief from Defendants for acts and practices, as

    19
         alleged herein, that violated §17200 of the California Business and Professions
    20

    21 Code, commonly known as the Unfair Competition Law.

    22        166.   Defendant engaged in “unlawful” business acts and practices by
    23
         violating the Magnuson-Moss Warranty Act, 15 U.S.C. §§2301, et seq., by
    24

    25 violating the Consumer Legal Remedies Act, California Civil Code §§1750, et

    26 seq., and by breaching implied warranties.

    27

    28

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     1
              167.   Defendants engaged in “unfair” business acts and practices by, among

     2 other things, manufacturing and selling First Generation Four Stroke Outboards

     3
         knowing or being aware they contained defects that cause early onset of severe
     4

     5 corrosion within the commonly expected useful life of the motors.

     6        168.   The acts and practices of Defendants have caused Plaintiffs and the
     7
         Class members to lose money or property by being overcharged for and paying for
     8

     9 the defective outboard motors at issue. Such loss was the result of the above acts

    10 of unfair competition and Defendants’ misconduct in violation of the laws set forth

    11
         above.
    12

    13        169.   Defendants have been unjustly benefitted as a result of their wrongful

    14 conduct and their acts of unfair competition. Plaintiffs and the Class members, and

    15
         in the alternative, Plaintiff Oetegenn and the California Subclass, are accordingly
    16

    17 entitled to equitable relief including restitution and/or disgorgement of all revenues

    18 and profits that may have been obtained by Defendants as a result of such business

    19
         acts and practices, pursuant to California Business and Professions Code §§17203
    20

    21 and 17204.

    22                                      COUNT VI
    23
          VIOLATION OF MASSACHUSETTS CONSUMER PROTECTION ACT
    24              (On behalf of the Massachusetts Subclass only)
    25
              170.   Plaintiff Charles Pencinger brings this cause of action against
    26

    27 Defendants on behalf of himself and on behalf of the Massachusetts Subclass.

    28

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     1
              171.   Defendants’ conduct as alleged herein caused substantial injury to

     2 consumers and constitutes unfair and deceptive acts or practices in the conduct of

     3
         trade and commerce under the Massachusetts Consumer Protection Act,
     4

     5 Massachusetts General Laws Annotated, Chapter 93A, Section 2.

     6        172.   Defendants’ conduct as alleged herein caused Pencinger and the
     7
         Massachusetts Subclass to act differently than they would have otherwise acted.
     8

     9 Absent Defendants’ conduct, Pencinger and the members of the Massachusetts

    10 Subclass would either have not purchased the outboard motors in question, or

    11
         would have insisted on paying less for them.
    12

    13        173.   Defendants’ unfair and deceptive acts or practices have been both the

    14 but-for cause in fact, as well as the proximate cause of damage, to Pencinger and

    15
         the Massachusetts Subclass members in an amount to be proven at trial.
    16

    17        174.   As a result of Defendants’ conduct as alleged herein, Pencinger and

    18 the members of the Massachusetts Subclass suffered economic and financial

    19
         injuries, losses and damages.
    20

    21        175.    Pencinger seeks and is entitled to an order enjoining Defendants from
    22 continuing to engage in the unfair and deceptive acts and practices alleged herein.

    23
              176.   Defendants’ deceptive acts and practices as alleged herein were
    24

    25 willful and knowing.

    26

    27

    28

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     1
              177.       Pencinger and the members of the Massachusetts Subclass should be

     2 awarded actual damages which should be doubled or trebled within the discretion

     3
         of the Court.
     4

     5        178.       More than thirty (30) days before the filing of this Amended

     6 Complaint, a written demand for relief was sent by registered mail by Plaintiffs’

     7
         counsel to Defendants, describing the unfair or deceptive acts or practices and the
     8

     9 injuries suffered by a class of consumers nationwide who purchased First

    10 Generation Four Stroke Outboards, including Pencinger and other members of the

    11
         Massachusetts Subclass.       This letter is attached as Exhibit C.     Defendants
    12

    13 completely ignored Plaintiffs’ written demand for relief. In addition, Defendants

    14 were on notice of the defects from complaints and service requests it has received

    15
         from Plaintiffs and other members of the Class, as well as through its own internal
    16

    17 investigations as reported in the BoatUS article.

    18        179.       Pursuant to Mass. Gen. Laws Chapter 93A §9, Pencinger and his
    19
         counsel will seek reasonable attorneys’ fees, to be awarded within the discretion of
    20

    21 the Court.

    22                                       COUNT VII
    23
         VIOLATION OF NEW YORK GENERAL BUSINESS LAW SECTION 349
    24               (On behalf of the New York Subclass only)
    25
              180.       Plaintiff Gerald Chiariello II brings this cause of action against
    26

    27
         Defendants for himself and on behalf of the New York Subclass.

    28

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     1
              181.     Chiariello is a resident of the State of New York and purchased his

     2 First Generation Four Stroke Outboard in the State of New York.

     3
              182.     Defendants’ conduct as alleged herein was directed at consumers such
     4

     5 as Chiariello and members of the New York Subclass, and was misleading in a

     6 material respect.

     7
              183.     Defendants’ conduct as alleged herein constitutes deceptive acts or
     8

     9 practices in the conduct of business, trade or commerce under N.Y. Gen. Bus. Law

    10 §349, et seq.

    11
              184.     As a direct and proximate result of Defendants’ conduct as alleged
    12

    13 herein, consumers such as Chiariello and the members of the New York Subclass

    14 suffered economic and financial losses and damages.

    15
              185.     The gravamen of the allegations against Defendants involves injury to
    16

    17 consumers and harm to the public interest.

    18        186.     Defendants’ deceptive acts or practices would be likely to mislead a
    19
         reasonable consumer acting reasonably under the circumstances.
    20

    21        187.     Defendants’ deceptive acts and practices as alleged herein were
    22 willful and knowing.

    23
              188.     Chiariello and the members of the New York Subclass are entitled to
    24

    25 injunctive relief and should be awarded actual damages which should be trebled

    26 within the discretion of the Court.

    27

    28

                                                  47
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     1
              189.    Pursuant to N.Y. Gen. Bus. Law §349(h), Chiariello and his counsel

     2 will seek reasonable attorneys’ fees, to be awarded within the discretion of the

     3
         Court.
     4

     5                                         COUNT VIII

     6       VIOLATION OF NORTH CAROLINA UNFAIR AND DECEPTIVE
     7                       TRADE PRACTICES ACT
                    (On behalf of the North Carolina Subclass only)
     8
              190.    Plaintiff Lucinda Overman brings this cause of action against
     9

    10 Defendants for herself and on behalf of the North Carolina Subclass.

    11
              191.    Defendants’ misrepresentations and omissions as alleged herein
    12
         constitute unfair and deceptive trade practices under the North Carolina Unfair and
    13

    14 Deceptive Trade Practices Act, N.C. Gen. Stat. §75-1.1, et seq.

    15
              192.    Plaintiff Overman relied on Defendants’ material misrepresentations
    16
         and omissions that stated their First Generation Four Stroke Outboard motors were
    17

    18 free from defects in material and workmanship, and concealed the defects.

    19
              193.    Defendants’ actions in question affected commerce in the State of
    20
         North Carolina.
    21

    22        194.    Defendants’ unfair and deceptive trade practices have been a
    23
         proximate cause of damage to Overman and the North Carolina Subclass members
    24

    25
         in an amount to be proven at trial.

    26        195.    As a result of Defendants’ unfair and/or deceptive business practices,
    27
         Overman and all members of the North Carolina Subclass have lost money in that
    28

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     1
         they paid for products that did not have the benefit as represented. Overman seeks

     2 and is entitled to an order enjoining Defendants from continuing to engage in the

     3
         unfair and deceptive business practices alleged herein.
     4

     5          196.   Overman and members of the North Carolina Subclass should be

     6 awarded damages, which should be trebled pursuant to N.C. Gen. Stat. §75-16.

     7
         Overman and her counsel will seek reasonable attorneys’ fees pursuant to N.C.
     8

     9 Gen. Stat. §75-16.1.

    10                                       COUNT IX
    11
             VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT
    12                (On behalf of the Washington Subclass only)
    13
                197.   Plaintiff George Williams brings this cause of action against
    14

    15 Defendants for himself and on behalf of the Washington Subclass.

    16          198.   Defendants’ conduct as alleged herein deceived Plaintiff Williams and
    17
         has the capacity to deceive a substantial portion of the public.
    18

    19          199.   Defendants’ conduct as alleged herein constitutes unfair and deceptive
    20 acts and practices in violation of Wash. Rev. Code §19.86.010, et. seq.

    21
                200.   Defendants’ unlawful acts and practices proximately caused damage
    22

    23 to Williams and the Washington Subclass members in an amount to be proven at

    24 trial.

    25
                201.   As a result of Defendants’ unfair and/or deceptive business practices,
    26

    27 Williams and all members of the Washington Subclass have lost money in that

    28

                                                   49
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     1
         they paid for products that did not have the benefit as represented. Williams seeks

     2 and is entitled to an order enjoining Defendants from continuing to engage in the

     3
         unfair and deceptive business practices alleged herein.
     4

     5        202.    Damages awarded to Plaintiff and members of the Subclass should be

     6 trebled pursuant to Wash. Rev. Code. §19.86.090, and include interest pursuant to

     7
         Wash. Rev. Code §19.86.909. Williams is entitled to recover a reasonable sum for
     8

     9 the necessary services of Plaintiff’s attorneys in preparation and trial of this action

    10 pursuant to Wash. Rev. Code §19.86.090.

    11
                                      PRAYER FOR RELIEF
    12

    13         WHEREFORE, Plaintiffs respectfully request the following relief:

    14         a.     Certification of this case as a class action and certification of Plaintiffs
    15
         herein to be adequate Class representatives and their counsel to be class counsel;
    16

    17         b.     The granting of injunctive relief including but not limited to a recall or

    18 free replacement program, or rescission;

    19
               c.     An award of costs, restitution, damages and disgorgement in an
    20

    21 amount to be determined at trial;

    22         d.     An award of costs and attorneys’ fees; and
    23
               e.     The granting of such other and further relief as this Court finds
    24

    25 necessary and proper.

    26                              JURY TRIAL DEMANDED
    27
               Plaintiffs demand a trial by jury on all issues so triable.
    28

                                                   50
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         DATED: September 5, 2013              BONNETT, FAIRBOURN,
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     9

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                           EXHIBIT A
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                           EXHIBIT D
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    11
         Attorneys for Plaintiff
    12

    13
                              UNITED STATES DISTRICT COURT
    14
                             CENTRAL DISTRICT OF CALIFORNIA
    15
         GEORGE WILLIAMS, on behalf of                  Case No.:
    16
         himself and all others similarly situated,
    17
                                                      DECLARATION OF MANFRED P.
                                                      MUECKE PURSUANT TO
    18         Plaintiff,
                                                      CALIFORNIA CIVIL CODE §1780(d)
    19 v.

    20
         YAMAHA MOTOR CO., LTD. and
    21 YAMAHA MOTOR CORPORATION,

    22 U.S.A.,

    23         Defendants.
    24         I, Manfred P. Muecke, declare as follows:
    25         1.     I am an attorney with the law firm of Bonnett, Fairbourn, Friedman &
    26 Balint, P.C., counsel of record for Plaintiff in the above-entitled action.   I am
    27 admitted to practice in this Court.

    28

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                                      CERTIFICATE OF SERVICE
     1
                I hereby certify that on September 5, 2013, I filed the foregoing with the Clerk of
     2
         the Court and I hereby certify that I have mailed the foregoing document via the United
     3
         States Postal Service to the following:
     4
                                     Theodore J. Boutros, Jr.
     5
                                     Theane Evangelis Kapur
     6                               Timothy W. Loose
                                     GIBSON, DUNN & CRUTCHER, LLP
     7                               333 South Grand Avenue
     8                               Los Angeles, CA 90071

     9                               Attorneys for Defendant Yamaha Motor Corp., U.S.A.
    10
                I certify under penalty of perjury under the laws of the United States of America
    11
         that the foregoing is true and correct. Executed on September 5, 2013.
    12

    13
                                                   By:
    14                                             MANFRED P. MUECKE
                                                   BONNETT FAIRBOURN FRIEDMAN
    15                                              & BALINT, PC
                                                   2325 E. Camelback Road, Ste. 300
    16                                             Phoenix, AZ 85016
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